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UNITED sTATEs DISTRICT CoURT j

WESTERN DISTRICT oF TENNESSEE F"-ED B"' - .
WESTERN DIVISION

05 JUL 13

 
 
  

THOMAS WESLEY sCRUGGs, OMW¢§»‘\S ll earn

Plainriff, W, (',V 5 BH
v. Civil No. 03-2518~V
BoARD oF EDUCATION oF THE MEMPHIS Cer SCHOOLS,

JOHNNTE WATSON and BOB ARCHER.
Defendants.

 

JUDGMENT IN CIVIL CASE

 

This action came before the Court on the defendant’s motion for summary judgment filed
March 25, 2005.

Decision by Court. For the reasons stated in the Order Granting Defendant’s Motion for
Summary Judgment, the court finds that there are no genuine issues of material fact.

l\/Iemphis City Schools is entitled to a judgment as a matter of law. The defendant’s
motion for summary judgment is granted

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

 

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Date Clerk
(By) Deputy Cl@rk "

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
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Honorable Diane Vescovo
US DISTRICT COURT

